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9         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                            CALIFORNIA

11
                                                      Case Number: 12-CR-00169 MCE
12   THE UNITED STAES OF AMERICA,
                                                      STIPULATION AND [PROPOSED]
13                       Plaintiff,                   ORDER REGARDING CONDITIONS
                                                      OF PRETRIAL RELEASE
14            v.

15   GAYLORD FRANKLIN,

16                       Defendant.

17
            In the matter at bar Defendant seeks to alter the Court's previously issued Pretrial Release
18
     Order issued on May 4, 2012.
19
            Special Release Condition 14 mandates electronic monitoring and home detention.
20          I have spoken with Mr. Franklin's Pretrial Services Officer Ms. Ty Gaskins and AUSA
21   Jason Hitt and requested that the order that Mr. Franklin be subjected to electronic monitoring
     and home detention be deleted.
22
            Both Ms. Gaskins and AUSA Hitt have no objection to the change.
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1
            IT IS THERFORE STIPULATED:
2
            Mr. Gaylord Franklin's Special Conditions of Release be altered so that the requirement
3    that he be subjected to electronic monitoring and home detention be deleted.
4
     Dated: August 10, 2015
5
     BENJAMIN WAGNER
6    United Sates Attorney
7    _______/s/_________
     Jason Hitt
8
     ASSISTANT UNITED STATES ATTORNEY
9
     Dated: August 10, 2015
10
     OLAF W. HEDBERG
11
     ______/S/__________
12   Olaf W. Hedberg
     ATTORNEY FOR GAYLORD FRANKLIN
13

14
                                            IT IS SO ORDERED
15

16          Mr. Gaylord Franklin s' Special Conditions of Release be altered so that Condition 14,
     the requirement that he be subject to electronic monitoring and home detention be deleted.
17

18   Dated: August 11, 2015.
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